Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 1 of 34 Page ID #:1




  1 MCGUIREWOODS LLP                        MCGUIREWOODS LLP
      Sabrina A. Beldner, Esq. (SBN 221918) Sylvia J. Kim, Esq. (SBN 258363)
  2      Email: sbeldner@mcguirewoods.com      Email: skim@mcguirewoods.com
      Amy E. Beverlin, Esq. (SBN 284745)    2 Embarcadero Center, Suite 1300
  3      Email: abeverlin@mcguirewoods.com San Francisco, CA 94111
      1800 Century Park East, 8th Floor     Tel.: (415) 844-9944
  4   Los Angeles, CA 90067                 Fax: (415) 844-9922
      Tel: (310) 315-8200
  5   Fax: (310) 315-8210
  6 Attorneys for Defendants CENTERRA GROUP, LLC, CENTERRA SERVICES
      INTERNATIONAL, INC., WACKENHUT SERVICES, INC., and G4S
  7 GOVERNMENT SOLUTIONS, INC.

  8

  9
                             UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 10

 11 JEANNIE MONARREZ individually,              CASE NO.
    and on behalf of other members of the
 12 general public similarly situated,          [Los Angeles Superior Court Case No.
                                                21STCV07215]
 13              Plaintiff,
                                                DEFENDANTS’ NOTICE OF
 14            vs.                              REMOVAL OF CIVIL ACTION

 15 CENTERRA GROUP, LLC, an
      unknown business entity; CENTERRA         Complaint Filed:         2/24/2021
 16   SERVICES INTERNATIONAL, INC.,             Complaint Served:        3/29/2021
      an unknown business entity;
 17   WACKENHUT SERVICES, INC., an
      unknown business entity; G4S
 18   GOVERNMENT SOLUTIONS, INC.,
      an unknown business entity; and DOES
 19   1 through 100, inclusive,

 20                  Defendants.

 21

 22

 23

 24

 25

 26

 27

 28

      143254306.2
                         DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 2 of 34 Page ID #:2




  1 TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

  2 CENTRAL DISTRICT OF CALIFORNIA:

  3            PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1332(d), 28 U.S.C. §
  4 1441, et seq., and 28 U.S.C. § 1446, et seq., Defendants CENTERRA GROUP, LLC

  5 (“CGL”),        CENTERRA        SERVICES        INTERNATIONAL,           INC.     (“CSI”),
  6 WACKENHUT SERVICES, INC. (“WSI”), and G4S GOVERNMENT SOLUTIONS,

  7 INC. (“G4S”) (collectively, the “Defendants”), by and through their undersigned

  8 counsel, hereby remove the above-captioned action from the Superior Court of the

  9 State of California in and for the County of Los Angeles (the “State Court”) to this

 10 Court on the ground of original jurisdiction based on the Class Action Fairness Act

 11 (“CAFA”) and on all other grounds for jurisdiction to the extent applicable, including

 12 traditional diversity and/or federal question. In support of their Notice of Removal,

 13 and in accordance with 28 U.S.C. § 1446, Defendants aver as follows:

 14                        I.    STATEMENT OF JURISDICTION
 15            1.   Among other grounds, including traditional diversity and/or federal
 16 question jurisdiction to the extent applicable, the Class Action Fairness Act of 2005,

 17 28 U.S.C. § 1332(d) (“CAFA” or the “Act”) grants federal district courts original

 18 jurisdiction over civil class action lawsuits filed under federal or state law in which any

 19 member of a putative class of plaintiffs is a citizen of a state different from any

 20 defendant, and where the matter in controversy exceeds $5,000,000, exclusive of

 21 interest and costs. 28 U.S.C. § 1332(d).

 22            2.   There is no presumption against removal under CAFA. See, e.g., Dart
 23 Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014) (“[N]o

 24 antiremoval presumption attends cases invoking CAFA, which Congress enacted to

 25 facilitate adjudication of certain class actions in federal court.”).    To the contrary,
 26 “CAFA’s ‘provisions should be read broadly, with a strong preference that interstate

 27 class actions should be heard in federal court if properly removed by any defendant.’”

 28 Id. at 554 (quoting S. Rep. No. 109-14, p. 43 (2005)).
      143254306.2
                                                1
                        DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 3 of 34 Page ID #:3




  1            3.   This Court has jurisdiction over this case under CAFA, and this case may
  2 be removed pursuant to 28 U.S.C. § 1441(a), because: (1) the proposed class contains

  3 more than 100 members; (2) the named defendants are not a state, state official, or

  4 other governmental entity; (3) the total amount in controversy for all class members

  5 exceeds $5,000,000; and (4) there is diversity of citizenship between at least one class

  6 member and at least one of Defendants.

  7            4.   Removal to this Court is proper because the action was filed and is
  8 pending in the Superior Court of the State of California in and for Los Angeles County,

  9 which is within this judicial district. 28 U.S.C. §§ 128(b), 1446(a).

 10            5.   As set forth below, this case meets all of CAFA’s requirements for
 11 removal and is timely and properly removed by the filing of this Notice.

 12                           II.     STATUS OF THE PLEADINGS
 13            6.   On or about February 24, 2021, Plaintiff JEANNIE MONARREZ filed a
 14 putative Class Action Complaint for Damages (the “Complaint”) in the State Court,

 15 entitled Jeannie Monarrez individually, and on behalf of other members of the general

 16 public similarly situated v. Centerra Group, LLC, an unknown business entity;

 17 Centerra Services International, Inc., an unknown business entity; Wackenhut

 18 Services, Inc., an unknown business entity; G4S Government Solutions, Inc., an

 19 unknown business entity; and DOES 1 through 100, inclusive, Case No. 21STCV07215

 20 (the “State Court Action”), a true and correct copy of which is attached hereto as

 21 Exhibit A.

 22            7.   On March 29, 2021, the registered agents for service of process for CSI,
 23 CGL, and G4S, and the purported agent for service of process for WSI, were each

 24 personally served with copies of the Summons and Complaint. True and correct copies

 25 of the Summons, Complaint, and every other process, pleading, and order served on

 26 Defendants in this action to date are attached hereto as the Exhibits identified below:

 27                 Exhibit         Document
 28                 A               Complaint
      143254306.2                               2
                        DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 4 of 34 Page ID #:4




  1                 B            Summons
  2                 C            Civil Case Cover Sheet
  3
                    D            Civil Case Cover Sheet Addendum and Statement of
  4                              Location
  5
                    E            Notice of Case Assignment – Unlimited Civil Case
  6                              and Instructions for Handling Unlimited Civil Cases
  7                 F            Court Order Regarding Newly Filed Class Action
  8
                    G            Voluntary Efficient Litigation Stipulations and
  9                              Alternative Dispute Resolution Package
 10            8.   Defendants are informed and believe that the aforementioned documents
 11 and exhibits constitute all of the process, pleadings and orders on file in the State Court

 12 Action at the time of this Removal.

 13            9.   Plaintiff’s Complaint alleges ten (10) purported causes of action for:
 14
                    (1)    Failure to pay overtime under Cal. Lab. Code § 510;
 15

 16                 (2)    Failure to provide meal periods and/or pay meal period
                           premiums under Cal. Lab. Code §§ 512 and 226.7;
 17
                    (3)    Failure to provide rest periods and/or pay rest period
 18
                           premiums pursuant to Lab. Code § 226.7;
 19
                    (4)    Failure to pay minimum wages under Cal. Lab. Code §§
 20                        1194, 1197 and 1197.1;
 21
                    (5)    Waiting time penalties based on Defendants’ alleged failure
 22                        to pay wages to terminated or separated employees pursuant
                           to Cal. Lab. Code § 203;
 23

 24                 (6)    Failure to provide accurate itemized wage statements in
                           violation of Cal. Lab. Code § 226;
 25
                    (7)    Failure to keep requisite payroll records in violation of Cal.
 26
                           Lab. Code § 1174(d);
 27
                    (8)    Failure to reimburse necessary business expenses in
 28                        violation of Cal. Lab. Code §§ 2800 and 2802; and
      143254306.2                                 3
                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 5 of 34 Page ID #:5




  1                        (9)    Unfair business practices in violation of California’s Unfair
  2
                                  Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200,
                                  et seq., based on the above-listed violations of California
  3                               state law.
  4 See id., ¶¶ 35-81. Plaintiff purports to bring these alleged claims on behalf of himself

  5 and a putative class defined as “[a]ll current and former hourly-paid or non-exempt

  6 employees who worked for any of the Defendants within the State of California at any

  7 time during the period from four years preceding the filing of [the] Complaint to final

  8 judgment and who reside in California.” Id., ¶ 15 (identifying two subclasses as well).

  9            10.         Defendants are informed and believe that they are the only defendants in
 10 the State Court Action that have been served with process in the State Court Action.

 11 In any event, WSI and G4S are not existing legal corporations, limited liability

 12 companies,              unincorporated     associations,    or   limited    partnerships.         Thus,
 13 notwithstanding that WSI and G4S are each diverse from Plaintiff, neither WSI nor

 14 G4S can be served with process and are to be disregarded for purposes of this removal.

 15 See, e.g., Omega Video Inc. v. Super. Ct., 146 Cal.App.3d 470, 477 (1983) (“A non-

 16 existent entity may not be effectively served with summons as a named defendant and

 17 may not be subjected to jurisdiction of a court by an entry of a general appearance on

 18 its behalf.”); see also discussion infra, ¶¶ 18-19.

 19            11.         Defendants are informed and believe that there has been no service of
 20 process upon Defendants Does 1 through 100, which are fictitious defendants to be

 21 disregarded for the purposes of this removal. See 28 U.S.C. § 1441(a).

 22                 III.      JURISDICTION PURSUANT TO CAFA IS SATISFIED
 23 A.         THIS ACTION IS A CLASS ACTION UNDER CAFA
 24            12.         Pursuant to Section 4 of CAFA, 28 U.S.C. § 1332(d)(2):
 25                        The district courts shall have original jurisdiction of any civil action
 26                        in which the matter in controversy exceeds the sum or value of
                           $5,000,000, exclusive of interest and costs, and is a class action in
 27                        which —
 28

      143254306.2                                         4
                                 DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 6 of 34 Page ID #:6




  1                        (A) any member of a class of plaintiffs is a citizen of a
  2
                           State different from any defendant; ….

  3            13.   CAFA defines a “class action” to include civil actions filed under state
  4 statutes or rules of procedure similar to Rule 23 of the Federal Rules of Civil Procedure

  5 (“Rule 23”) that authorize an action to be brought by one or more representative

  6 persons as a class action. The Complaint alleges that “[t]his is a Class Action pursuant

  7 to California Code of Civil Procedure section 382” and that “Plaintiff brings this Action

  8 on her own behalf and on behalf of all other members of the general public similarly

  9 situated, and thus, seeks class certification under California Code of Civil Procedure

 10 section 382.” See Exh. A (Complaint), ¶¶ 1, 14; see also id. at ¶¶ 14-18 (“Class Action

 11 Allegations”). This action is therefore a “class action” under CAFA.

 12 B.         MINIMUM DIVERSITY OF CITIZENSHIP EXISTS
 13            14.   Minimum diversity exists pursuant to 28 U.S.C. § 1332(d)(2)(A).
 14            15.   Plaintiff’s Citizenship.   The Complaint does not allege Plaintiff’s
 15 residence or citizenship. See generally Complaint. However, Defendants are informed

 16 and believes that Plaintiff currently resides in and intends to indefinitely remain living

 17 continuously in California. See id., ¶¶ 14-15 (purporting to represent a putative class

 18 of non-exempt, hourly-paid employees “who reside in California”); id., ¶¶ 19-20

 19 (alleging “Defendants employed Plaintiff and other persons as hourly-paid or non-

 20 exempt employees within the State of California” and that “Defendants … employed

 21 Plaintiff … in the State of California, County of Los Angeles”). As such, based on

 22 Plaintiff’s own allegations, Defendants are informed and believe that Plaintiff is a

 23 citizen of California for purposes of CAFA. See 28 U.S.C. § 1332(a)(1) (an individual

 24 is a citizen of the state in which he or she is domiciled); see also Lew v. Moss, 797 F.2d

 25 747, 751-52 (9th Cir. 1986) (party domiciled in state of party’s address); State Farm

 26 Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994) (residence is prima facie

 27 evidence of domicile for purposes of determining citizenship).

 28

      143254306.2                                5
                         DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 7 of 34 Page ID #:7




  1            16.   Defendant CSI’s Citizenship. As a corporation, CSI is both a citizen of
  2 its state of incorporation and where it has its principal place of business. 28 U.S.C. §

  3 1332(c)(1). As shown on the Secretary of State’s Business Entities Search website,

  4 CSI is a corporation organized and existing under the laws of the State of Delaware

  5 with its corporate headquarters and principal place of business in Virginia. See URL

  6 at https://businesssearch.sos.ca.gov (using “Corporation Name” search for “Centerra

  7 Services International”).     At its corporate headquarters in Virginia, CSI’s officers
  8 direct, control and coordinate its activities and the majority of its executive and

  9 administrative functions are performed there. Thus, CSI was and is a citizen of the

 10 State of Delaware and Commonwealth of Virginia for the purpose of determining

 11 minimum diversity jurisdiction.1 28 U.S.C. § 1332(d)(2).

 12            17.   Defendant CGL’s Citizenship. A limited liability company (“LLC”),
 13 like CGL, is an unincorporated entity. See Johnson v. Columbia Props. Anchorage,

 14 LP, 437 F.3d 894, 899 (9th Cir. 2006); Rolling Greens MHP, L.P. v. Comcast SCH

 15 Holdings L.L.C., 374 F.3d 1020, 1021 (11th Cir. 2004). For purposes of CAFA, “an

 16 unincorporated association shall be deemed to be a citizen of the State where it has its

 17 principal place of business and the State under whose laws it is organized.” 28 U.S.C.

 18 § 1332(d)(10). As shown on the California Secretary of State’s Business Entities

 19 Search website, CGL is a LLC organized and existing under the laws of the State of

 20 Delaware with its corporate headquarters and principal place of business in Virginia.

 21 See URL at https://businesssearch.sos.ca.gov (using “LP/LLC Name” search for

 22 “Centerra Group”). At its corporate headquarters in Virginia, CGL’s officers direct,

 23 control and coordinate its activities and the majority of its executive and administrative

 24

 25
               1
 26          If this Court’s jurisdiction is challenged, either by Plaintiff or sua sponte,
    Defendants expressly reserve and do not waive their right to supplement and/or amend
 27 their removal submissions to present additional information regarding CSI’s
    citizenship to demonstrate the existence of the requisite CAFA diversity between the
 28 parties.

      143254306.2                                6
                         DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 8 of 34 Page ID #:8




  1 functions are performed there. Thus, CGL was and is a citizen of the State of Delaware

  2 and Commonwealth of Virginia for the purpose of determining minimum diversity

  3 jurisdiction.2 28 U.S.C. § 1332(d)(2).

  4            18.   Defendant WSI. WSI is not an existing or identifiable legal corporation,
  5 limited liability company, unincorporated association, or limited partnership, or other

  6 entity type. Indeed, a California Secretary of State Business Search does not return

  7 any results for WSI (https://businesssearch.sos.ca.gov/).      Rather, WSI’s corporate
  8 name was relinquished and changed to “G4S Government Solutions, Inc.” (i.e.,

  9 Defendant G4S). See Amended Statement of Foreign Corporation (Aug. 26, 2011),

 10 available at https://businesssearch.sos.ca.gov/Document/RetrievePDF?Id=00433537-

 11 14115382. Thus, to the extent WSI’s citizenship is even relevant (given that there

 12 already exists minimal diversity between Plaintiff and either CGL or CSI), it is

 13 properly disregarded for purposes of this removal. See, e.g., Lurie v. Konica Minolta

 14 Bus. Sols. U.S.A., 2016 WL 1408056, at *2 (C.D. Cal. Apr. 11, 2016) (Klausner, J.)

 15 (disregarding non-existent corporate entity defendant in determining diversity).3

 16            19.   Defendant G4S. Defendant G4S is not an independent or currently-
 17 existing entity. To that point, as shown on the Florida Division of Corporation’s entity

 18 name search website, G4S was “converted” into CGL in 2014.4 Thus, to the extent

 19

 20            2
               If this Court’s jurisdiction is challenged, either by Plaintiff or sua sponte,
 21   Defendants expressly reserve and do not waive their right to supplement and/or amend
      their removal submissions to present additional information regarding CGL’s
 22   citizenship to demonstrate the existence of complete diversity between the parties.
             3
               See also, e.g., Nickerman v. Remco Hydraulics Inc., 2006 WL 2329516, at *4
 23   & n.6 (N.D. Cal. Aug. 9, 2006) (finding citizenship of “dissolved defector” corporation
      with no assets was properly disregarded for purposes of diversity jurisdiction);
 24   Stonybrook Tenants Ass’n, Inc. v. Alpert, 194 F.Supp. 552, 559-60 (D. Conn. 1961)
      (corporation without “living, active existence” only a nominal party whose citizenship
 25   was properly disregarded for purposes of diversity jurisdiction); Dream Team Holdings
      LLC v. Alarcon, 2016 WL 9343158, at *3 (D. Ariz. Oct. 7, 2016) (“It should go without
 26   saying that a nonexistent entity does not have standing to bring suit, and therefore
      should not be considered for purposes of determining diversity jurisdiction.”).
 27          4
               See Certification of Conversion For Florida Profit Corporation Into “Other
 28   Business Entity” (Dec. 4, 2014), available at the following URL:

      143254306.2                                7
                         DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 9 of 34 Page ID #:9




  1 G4S’s citizenship is even relevant (given that there already exists minimal diversity

  2 between Plaintiff and either CGL or CSI), it is properly disregarded for purposes of

  3 this removal.5 See supra ¶ 18 & n.3. In any event, as shown on the California Secretary

  4 of State’s Business Entities Search website, G4S was a corporation organized and

  5 existing under the laws of the State of Florida with its corporate headquarters and

  6 principal        place     of   business   in   State   of   Florida.     See     URL     at
  7 https://businesssearch.sos.ca.gov (using “Corporation Name” search for “G4S

  8 Government Solutions, Inc.”). At its corporate headquarters in Florida, G4S’s officers

  9 direct, control and coordinate its activities and the majority of its executive and

 10 administrative functions are performed there. Thus, G4S was and is a citizen of the

 11 State of Florida for the purpose of determining minimum diversity jurisdiction.6 28

 12 U.S.C. § 1332(d)(2).

 13            20.   Accordingly, none of Defendants were or are a citizen of the State of
 14 California. Rather, CSI and CGL were and are citizens of the State of Delaware and

 15 the Commonwealth of Virginia for the purpose of determining jurisdiction, while

 16 Plaintiff was and is a citizen of the State of California. See 28 U.S.C. § 1332(d)(10).

 17 Thus, the minimum diversity requirement under CAFA is satisfied.                28 U.S.C. §
 18 1332(d)(2).

 19 C.         THE AMOUNT IN CONTROVERSY EXCEEDS $5,000,000
 20            21.   Defendants allege herein based on the following calculations that the
 21

 22
      http://search.sunbiz.org/Inquiry/CorporationSearch/ConvertTiffToPDF?storagePath=
 23 COR%5C2014%5C1211%5C65740326.Tif&documentNumber=238799.
               5
               G4S is listed as “inactive” on the Florida Division of Corporation’s entity name
 24 search website.         See http://search.sunbiz.org/Inquiry/CorporationSearch/ByName
 25
      (“Entity Name” searched “G4S Government Solutions”). Additionally, as shown on
      the California Secretary of State’s Business Entities Search website, in December
 26
      2014, G4S surrendered its right to do business in California.                          See
      https://businesssearch.sos.ca.gov/Document/RetrievePDF?Id=00433537-18571032.
             6
 27            If this Court’s jurisdiction is challenged, either by Plaintiff or sua sponte,
      Defendants expressly reserve and do not waive their right to supplement and/or amend
 28   their removal submissions to present additional information regarding G4S’s
      citizenship to demonstrate the existence of complete diversity between the parties.
      143254306.2                                   8
                             DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 10 of 34 Page ID #:10




   1 amount in controversy exceeds $5,000,000 for purposes of establishing subject matter

   2 jurisdiction under CAFA. Defendants’ allegations and calculations are not admissions

   3 of liability or damages with respect to any aspect of this case, or to the proper legal

   4 test(s) applicable to Plaintiff’s allegations, or whether a class action is proper. See

   5 LaCrosse v. Knight Truck & Trailer Sales, LLC, 775 F.3d 1200, 1203 (9th Cir. Jan. 8,

   6 2015) (“‘Even when defendants have persuaded a court upon a CAFA removal that the

   7 amount in controversy exceeds $5 million, they are still free to challenge the actual

   8 amount of damages in subsequent proceedings and trial.’”) (quoting Ibarra v. Manheim

   9 Invs., Inc., 775 F.3d 1193, 1198 n.1 (9th Cir. 2015)).

  10            22.   Consistent with Fed. R. Civ. P. 8(a), a removing defendant’s notice of
  11 removal need only contain plausible allegations to demonstrate the amount in

  12 controversy. Evidentiary submissions are not required unless and until the removing

  13 defendant’s allegations are contested by the plaintiff or questioned by the Court:

  14            In sum, as specified in § 1446(a), a defendant’s notice of removal need
  15
                include only a plausible allegation that the amount in controversy exceeds
                the jurisdictional threshold. Evidence establishing the amount is required
  16            by § 1446(c)(2)(B) only when the plaintiff contests, or the court questions,
  17
                the defendant’s allegation.

  18 Dart Cherokee, 574 U.S. at 89. This standard applies to complaints like the Complaint

  19 in this action, which does not allege or seek a specific amount of damages:

  20            When plaintiffs favor state court and have prepared a complaint that does
                not assert the amount in controversy … the Supreme Court has said that a
  21
                defendant can establish the amount in controversy by an unchallenged,
  22            plausible assertion of the amount in controversy in its notice of removal
  23 Ibarra, 775 F.3d at 1197-98 (citing Dart Cherokee, 574 U.S. at 89-90).

  24            23.   A plaintiff’s complaint is a court’s “first source of reference in
  25 determining the amount in controversy.” LaCrosse, 775 F.3d at 1202 (citing St. Paul

  26 Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938)). Here, in determining

  27 the amount in controversy for purposes of removal, the ultimate inquiry is what amount

  28 is put “in controversy” by Plaintiff’s Complaint—not what a court or jury might later

       143254306.2                                  9
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 11 of 34 Page ID #:11




   1 determine to be the actual amount of damages, if any. See, e.g., Ibarra, 775 F.3d at

   2 1198 n.1 (defendants “are not stipulating to damages suffered” in a removal petition,

   3 “but only estimating the damages that are in controversy,” because “jurisdiction must

   4 be analyzed on the basis of pleadings filed at the time of removal”); St. Paul Mercury,

   5 303 U.S. at 291 (“the status of the case as disclosed by the complaint is controlling in

   6 the case of a removal”); Scherer v. Equitable Life Assurance Soc’y of the United States,

   7 347 F.3d 394, 399 (2d Cir. 2003) (the “‘amount in controversy’ … for jurisdictional

   8 purposes, [is] the sum put in controversy by the plaintiff’s complaint”); see also, e.g.,

   9 Wilder v. Bank of Am., 2014 WL 6896116, at *4 (C.D. Cal. Dec. 5, 2014) (Morrow, J.)

  10 (determining amount in controversy requires that court assume that the allegations of

  11 the complaint are true and that a jury will return a verdict for the plaintiff on all claims

  12 made in the complaint because the ultimate inquiry is what amount is put “in

  13 controversy” by the complaint, not what a defendant will actually owe).

  14            24.   Plaintiff brings this action on behalf of her and a putative class defined as:
  15
                All current and former hourly-paid or non-exempt employees who worked
  16            for any of the Defendants within the State of California at any time during
                the period from four years preceding the filing of [the] Complaint to final
  17
                judgment and who reside in California.
  18            (Subclass A) All class members who were subject to Defendants’ practice
  19            of rounding time recorded for compensation of regular and overtime
                wages.
  20
                (Subclass B) All class members who were subject to Defendants’ policy
  21            to require its hourly paid or non-exempt employees to remain on the work
  22            premises during rest breaks.
  23 Complaint, ¶ 15.

  24            25.   Plaintiff and the putative class members she seeks to represent (“PCMs”)
  25 purport to seek, inter alia, compensatory damages in the amount of unpaid wages

  26 and/or overtime and in the amount of Plaintiff’s and each PCM’s hourly wage for each

  27 meal and rest period missed or taken late; liquidated damages; statutory wage and other

  28 penalties; wage statement penalties; waiting time penalties; restitution under Business

       143254306.2                                  10
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 12 of 34 Page ID #:12




   1 and Professions Code § 17203; pre-judgment and post-judgment interest at the

   2 maximum rate allowed by law; injunctive relief; and “reasonable attorneys’ fees and

   3 costs of suit” in connection with each cause of action alleged. Id. at pp. 23-28 (Prayer

   4 for Relief, ¶¶ 1-58).

   5            26.       CAFA authorizes the removal of class actions in which, among the other
   6 factors mentioned above, the aggregate amount in controversy for all class members

   7 exceeds five million dollars ($5,000,000.00). See 28 U.S.C. § 1332(d). Here, the

   8 allegations in Plaintiff’s Complaint and the claimed damages and penalties exceed the

   9 jurisdictional minimum, even without considering the amounts in controversy with

  10 respect to any non-exempt employees of the other named defendant entities, including

  11 CGL, except with respect to Plaintiffs’ inaccurate wage statement claim.

  12                                     Size of the Purported Class
  13            27.       According to the Complaint, “[t]he class members are so numerous that
  14 joinder of all class members is impracticable.” Complaint, ¶ 17.a. Indeed, during the

  15 four-year period preceding service of the Complaint (i.e., February 24, 2017 to March

  16 29, 2021),7 Defendants CSI and CGL employed more than 100 individuals as non-

  17 exempt employees in California.            See discussion infra. Therefore, the aggregate
  18 membership of the proposed class is at least 100 as required under CAFA. See 28

  19 U.S.C. § 1332(d)(5)(B).

  20                                    CAFA Amount in Controversy
  21            28.       The claims of the individual putative class members in a “class action”
  22 are aggregated to determine if the amount in controversy exceeds the sum or value of

  23 $5 million. See 28 U.S.C. § 1332(d)(6), (11). In addition, Congress intended for

  24 federal jurisdiction to be appropriate under CAFA “if the value of the matter in

  25 litigation exceeds $5,000,000 either from the viewpoint of the plaintiff or the viewpoint

  26 of the defendant, and regardless of the type of relief sought (e.g., damages, injunctive

  27

  28
                7
                     See ¶ 29, infra.
       143254306.2                                   11
                               DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 13 of 34 Page ID #:13




   1 relief, or declaratory relief).” Senate Judiciary Committee Report, S. Rep. 109-14, at

   2 42. Moreover, the Senate Judiciary Committee’s Report on the final version of CAFA

   3 makes clear that any doubts regarding the maintenance of interstate class actions in

   4 state or federal court should be resolved in favor of federal jurisdiction:

   5            [I]f a federal court is uncertain about whether ‘all matters in controversy’
   6
                in a purported class action ‘do not in the aggregate exceed the sum or
                value of $5,000,000, the court should err in favor of exercising jurisdiction
   7            over the case ... Overall, new section 1332(d) is intended to expand
   8
                substantially federal court jurisdiction over class actions. Its provisions
                should be read broadly, with a strong preference that interstate class
   9            actions should be heard in a federal court if properly removed by any
  10            defendant.

  11 S. Rep. 109-14, at 42-43.

  12            29.   CSI’s payroll, employment, and operational data for those PCMs
  13 comprised of CSI’s current and former employees in California who worked as non-

  14 exempt hourly employees between February 24, 2017 and March 29, 2021 (the date on

  15 which the Complaint was served on Defendants), was used and analyzed to determine
                                                                           8
  16 the CAFA amount in controversy for purposes of this Notice of Removal. The data

  17 for that four-year period was analyzed for purposes of this Notice of Removal, and can

  18 be summarized as follows:

  19            (a)   There are 238 PCMs who currently work or have worked for CSI
                      as non-exempt employees in California during the four-year period
  20
                      preceding service of the Complaint (between February 24, 2017
  21                  and March 29, 2021);
  22            (b)   There are 220 PCMs who separated their employment with CSI
  23                  during the four-year period preceding service of the Complaint
                      (between February 24, 2017 and March 29, 2021), while 199 PCMs
  24                  separated their employment with CSI during the three-year period
  25

  26
                8
  27         If challenged, Defendants expressly reserve and do not waive their right to
     supplement and/or amend their removal submissions to rely on additional data and/or
  28 claims for which no calculations have yet been proffered in calculating the amount in
     controversy.
       143254306.2                                  12
                            DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 14 of 34 Page ID #:14




   1                  preceding service of the Complaint (between February 24, 2017
   2
                      and March 29, 2021);

   3            (c)   PCMs worked an aggregate of 95,610 workdays for CSI during the
                      four-year period preceding service of the Complaint (between
   4                  February 24, 2017 and March 29, 2021);
   5
                (d)   During the four-year period between February 24, 2017 and March
   6                  29, 2021, PCMs worked an average of 8.13 hours per workday for
   7                  CSI;

   8            (e)   During the four-year period between February 24, 2017 and March
                      29, 2021, CSI’s PCMs had an average effective hourly rate of
   9
                      $33.28 per hour;
  10
                (f)   There are 112 PCMs who currently work or have worked for CSI
  11                  as non-exempt employees in California during the one-year period
  12                  preceding service of the Complaint (i.e., February 24, 2020 through
                      March 29, 2021), who were issued a total of 1,754 wages
  13                  statements during that same time period.
  14            30.   Defendant CGL’s payroll, employment, and operational data for those
  15 PCMs comprised of CGL’s current and former employees in California who worked

  16 as non-exempt hourly employees from between February 24, 2017 and March 29,

  17 2021, was used and analyzed to determine the CAFA amount in controversy for

  18 purposes of this Notice of Removal.9 The data for that four-year period was analyzed

  19 for purposes of this Notice of Removal, and can be summarized in relevant part as

  20 follows:

  21
                (a)   There are 901 PCMs who currently work or have worked for CGL
  22                  as non-exempt employees in California during the four-year period
  23                  preceding service of the Complaint (between February 24, 2017
                      and March 29, 2021); and
  24

  25
                9
  26         If challenged, Defendants expressly reserve and do not waive their right to
     supplement and/or amend their removal submissions to rely on additional data and/or
  27 claims for which no calculations have yet been proffered in calculating the amount in
     controversy, including with respect to the nine other claims asserted against CGL for
  28 which Defendants have not proffered an amount in controversy for purposes of this
     Notice of Removal. See infra.
       143254306.2                                13
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 15 of 34 Page ID #:15




   1            (b)     There are 422 PCMs who currently work or have worked for CGL
   2
                        as non-exempt employees in California during the one-year period
                        preceding service of the Complaint (between February 24, 2020
   3                    and March 29, 2021), who were issued a total of 9,277 wage
   4
                        statements during that same time period.

   5   First and Fourth Causes Of Action: Failure to Pay Overtime and Minimum Wages
   6            31.     In support of her First and Fourth Causes of Action10 for failure to pay
   7 overtime and minimum wages, Plaintiff alleges that “Defendants … failed to
                                                                               11
   8 compensate [her and other PCMs] for all hours worked ...” Complaint, ¶ 21. She

   9 further alleges that “Defendants engaged in a pattern and practice of wage abuse

  10 against their hourly-paid or non-exempt employees within the State of California. This

  11 pattern and practice [allegedly] involved, inter alia, failing to pay them for all regular

  12 and/or overtime wages earned ....” Id., ¶ 27. She also alleges that “Defendants knew

  13 or should have known that [she and other PCMs] were entitled to receive certain wages

  14 for overtime compensation and that they were not receiving accurate overtime

  15 compensation for all overtime hours worked” and that “Defendants knew or should

  16 have known that Plaintiff [and other PCMs] were entitled to receive at least minimum

  17 wage for compensation and that they were not receiving at least minimum wage for all

  18 hours worked.” Id., ¶¶ 28, 32.

  19            32.     In further support of her First Cause of Action for failure to pay overtime
  20 wages, Plaintiff alleges that, “[d]uring the relevant time period, Defendants failed to

  21 pay overtime wages to Plaintiff and [the other PCMs] for all overtime hours worked.”

  22

  23
                10
                     Plaintiff’s Tenth Cause of Action seeks restitution of the same allegedly
  24 unpaid overtime and minimum wages under the UCL, which is subject to a four-year
       limitations period. Complaint, ¶¶ 116, 119 (“Plaintiff and the other class members are
  25 entitled to restitution of the wages withheld and retained by Defendants during a period
       that commences four years preceding the filing of this Complaint, an award of
  26 attorneys’ fees ... and an award of costs.”).
                11
  27        Plaintiff also appears to allege a “practice” of “rounding time recorded for
     compensation of regular and overtime wages”; however, there are no allegations in the
  28 Complaint regarding such a practice. Complaint, ¶ 15.

       143254306.2                                   14
                             DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 16 of 34 Page ID #:16




   1 Id., ¶ 39 (emph. added). She further alleges that she and other PCMs “were required

   2 to work more than eight (8) hours per day and/or forty (40) hours per week without

   3 overtime compensation for all overtime hours worked.” Id. (emph. added); id., ¶ 54

   4 (“During the relevant period, Plaintiff and the other class members worked in excess

   5 of eight (8) hours in a day, and/or in excess of forty (40) hours in a week.”). She

   6 contends that, “[d]uring the relevant period, Defendants intentionally and willfully

   7 failed to pay overtime wages to Plaintiff” and other PCMs. Id., ¶ 55.12 Based thereon,

   8 Plaintiff seeks to recover, on behalf of herself and other PCMs, “unpaid overtime

   9 compensation, as well as interest, costs, and attorneys’ fees.” Id., ¶ 57.

  10            33.   In further support of her Fourth Cause of Action for failure to pay
  11 minimum wages, Plaintiff contends that, “[d]uring the relevant time period,

  12 Defendants failed to pay Plaintiff [and other PCMs] at least minimum wages for all

  13 hours worked.” Id., ¶ 41 (emph. added); see also id., ¶ 80 (“During the relevant time

  14 period, Defendants failed to pay minimum wage to Plaintiff and the other class

  15 members as required ....”); id., ¶ 47 (“During the relevant time period, Defendants

  16 failed to properly compensation Plaintiff and [other PCMs] pursuant to California law

  17 ....”). Based thereon, Plaintiff seeks to recover, on behalf of herself and other PCMs,

  18 “the unpaid balance of their minimum wage compensation as well as interest, costs,

  19 and attorney’s [sic] fees, and liquidated damages in an amount equal to the wages

  20 unlawful unpaid and interest thereon.” Id., ¶ 81; see also id., ¶ 83 (seeing liquidated

  21 damages). She also seeks to recover statutory wage penalties pursuant to Cal. Lab.

  22 Code § 1197.1. Id., ¶ 82.

  23 A.         UNPAID OVERTIME AND MINIMUM WAGES
  24            34.   In light of Plaintiff’s allegations that she and the PCMs worked more than
  25 eight hours “per day” during the four-year limitations period, that Defendants did not

  26

  27
                12
  28           See also Complaint, ¶ 47 (“During the relevant time period, Defendants failed
       to properly compensation Plaintiff and [other PCMs] pursuant to California law ....”).
       143254306.2                                15
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 17 of 34 Page ID #:17




   1 pay minimum wage during the four-year limitations period, that each has been

   2 damaged by a “pattern and practice of wage abuse,” and the fact that CSI PCMs alone

   3 worked, on average, 8.13 hours per day during the four year period preceding service

   4 of the Complaint, any unpaid time worked by PCMs should be calculated at the

   5 overtime rate for that same period.13

   6            35.   For purposes of calculating the amount in controversy for removal, based
   7 on Plaintiff’s allegations in the Complaint, Defendants have reasonably and

   8 conservatively assumed that each of the CSI PCMs alone will claim to have worked at

   9 least 12 minutes (0.20 hours) of unpaid overtime and straight time per day. This

  10 assumption is wholly reasonable given the Complaint’s allegations. See, e.g., Lucas v.

  11 Michael Kors (USA), Inc., 2018 WL 2146403, at *6 (C.D. Cal. May 9, 2018)

  12 (Fitzgerald, J.) (finding assumption of one hour per week, or 12 minutes per day,

  13 reasonable where plaintiff alleged defendant rounded all employees’ time); Altamirano

  14 v. Shaw Indus., 2013 WL 2950600, at *10 (N.D. Cal. June 14, 2013) (accepting

  15 assumption of six minutes of unpaid time per day for purposes of amount in

  16 controversy calculations as “rather conservative” where plaintiff alleged the defendant

  17 rounded all employees’ time).14

  18            36.   Based on the foregoing, CSI calculates the amount in controversy for the
  19 alleged unpaid overtime and minimum wages for CSI PCMs only as follows:

  20

  21

  22

  23

  24

  25            13
               See, e.g., Campbell v. Vitran Exp., Inc., 471 F. App’x 646, 648 (9th Cir. 2012)
     (facts alleged  in the complaint “are to be taken as true for purposes of calculating the
  26 amount in controversy”).
            14
  27           If challenged, Defendants expressly reserve and do not waive their right to
     supplement and/or amend their removal submissions to rely on other, higher,
  28 reasonable assumptions and/or estimates in calculating the amount in controversy, or
     employee data for CGL.
       143254306.2                                16
                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 18 of 34 Page ID #:18




   1          Average Hourly               Off-the-
               Overtime Rate                Clock
   2         (Average Effective           Hours Per
            Hourly Rate [$33.28] x           Day              Total         Amount In
   3                1.5)                   Worked            Workdays       Controversy
   4                  $49.91          x      0.20        x    95,610    =    $954,570.24
   5
                37.   Therefore, the amount in controversy for Plaintiff’s First and Fourth
   6
       Causes of Action for unpaid overtime and minimum wages is $954,570.24 (without
   7
       taking into consideration liquidated damages). Notably, the amount in controversy on
   8
       these claims and Plaintiff’s other claims as discussed below are conservatively
   9
       calculated given that they are calculated only up to the date the Complaint was served,
  10
       even though they can properly be calculated to include relief that could be obtained
  11
       through the end of trial, and particularly given that they do not include any sums for
  12
       employees working for CGL. See, e.g., Chavez, 888 F.3d 413 at 414-15, 417-18.
  13
       B.       LIQUIDATED DAMAGES ON UNPAID MINIMUM WAGES CLAIM
  14
                38.   On her Fourth Cause of Action for failure to pay minimum wages,
  15
       Plaintiff expressly seeks liquidated damages pursuant to Cal. Labor Code § 1194.2,
  16
       which provides that liquidated damages may be awarded “in an amount equal to the
  17
       wages unlawfully unpaid ...” Cal. Lab. Code §1194.2; see also Complaint, ¶ 83
  18
       (“Pursuant to California Labor Code section 1194.2, Plaintiff and the other class
  19
       members are entitled to recovery liquidated damages in an amount equal to the wages
  20
       unlawful unpaid and the interest thereon.”); id., p. 25 (Prayer for Relief, ¶ 28).
  21
                39.   Thus, based on Plaintiff’s pursuit of liquidated damages on her minimum
  22
       wage claim, the amount in controversy on her unpaid wages claims properly includes
  23
       an additional amount equal to the number of purported off-the-clock hours for which
  24
       Plaintiffs and other PCMs were not paid at least minimum wage—which, for purposes
  25
       of this Notice of Removal, Defendants have calculated at the lowest minimum wage
  26
       during the four-year period preceding service of the Complaint (i.e., $10.50 per
  27

  28

       143254306.2                                  17
                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 19 of 34 Page ID #:19




   1 hour)15—calculated as follows:

   2                                     Off-the-
                       Lowest             Clock
   3                  Minimum           Hours Per
                     Wage Hourly           Day            Total           Amount In
   4                    Rate             Worked          Workdays         Controversy
   5                    $10.50      x      0.20     x     95,610    =     $200,781.00
   6

   7 C.         TOTAL AMOUNT IN CONTROVERSY ON UNPAID WAGES CLAIMS
   8            40.      Accordingly, the total amount in controversy for Plaintiff’s First and
   9 Fourth Causes of Action, including allegedly unpaid wages and liquidated damages, is

  10 at least $1,155,351.24 [$954,570.24 + $200,781.00], without calculating or including

  11 any sums for non-exempt employees working for Defendant CGL.

  12                     Second Cause of Action: Failure to Provide Meal Periods
  13            41.      In support of her Second Cause of Action for failure to provide meal
                                            16
  14 periods or to pay meal period premiums, Plaintiff alleges that “Defendants engaged

  15 in a pattern and practice of wage abuse against their hourly-paid or non-exempt

  16 employees within the State of California.             This pattern and practice [allegedly]
  17 involved, inter alia, failing to pay them ... for missed meal periods and rest breaks in

  18 violation of California law.” Complaint, ¶ 27. She further alleges that “Defendants

  19

  20
                15
                      The use of the lowest state minimum wage results in a conservative and
  21 dramatically underestimated liquidated damages amount in controversy considering
       that the state minimum wage is presently $13.00 per hour and has been more $10.50
  22 or more per hour since at least January 1, 2017. Furthermore, the minimum wage in
       the County of Los Angeles, which was at all times where Plaintiff alleges she worked,
  23 is presently $15.00 per hour, and has been $10.50 or more since at least July 1, 2016.
       Therefore, if challenged, Defendants expressly reserve and do not waive their right to
  24 supplement and/or amend their removal submissions to rely on other, higher, minimum
       wage rates within the State of California and/or the County of Los Angeles in
  25 calculating the amount in controversy, or employee data for CGL.
                16
  26           Plaintiff’s Tenth Cause of Action seeks restitution of the same allegedly
     unpaid overtime and minimum wages under the UCL, which is subject to a four-year
  27 limitations period. Complaint, ¶¶ 116, 119 (“Plaintiff and the other class members are
     entitled to restitution of the wages withheld and retained by Defendants during a period
  28 that commences four years preceding the filing of this Complaint, an award of
     attorneys’ fees ... and an award of costs.”).
       143254306.2                                  18
                              DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 20 of 34 Page ID #:20




   1 knew or should have known that [she] and other [PCMs] were entitled to receive all

   2 meal periods or payment for one additional hour of pay at [her[ and the other [PCMs’]

   3 regular rate of pay when a meal period was missed, and they did not receive all meal

   4 periods or payment of one additional hour of pay and [their] regular rate of pay when

   5 a meal period was missed.” Id., ¶ 30. She also alleges that, “[d]uring the relevant time

   6 period, Defendants failed to provide all uninterrupted meal and rest periods to Plaintiff

   7 and [other PCMs].” Id., ¶ 40.

   8            42.   In further support of her Second Cause of Action, Plaintiff alleges that,
   9 “[d]uring the relevant period, [she] and [other PCMs] who were scheduled to work for

  10 a period of time no longer than six (6) hours, and who did not waive their legally-

  11 mandated meal periods by mutual consent, were required to work for periods longer

  12 than five (5) hours without an interrupted meal period of not less than thirty (30)

  13 minutes and/or rest period.” Id., ¶ 63. She further alleges that, “[d]uring the relevant

  14 period, [she] and [other PCMs] who were scheduled to work for a period of time in

  15 excess of six (6) hours were required to work for periods longer than five (5) hours

  16 without an interrupted meal period of not less than thirty (30) minutes and/or rest

  17 period.” Id., ¶ 64. She contends that, “[d]uring the relevant time period, Defendants

  18 ... required Plaintiff and [other PCMs] to work during meal periods and failed to

  19 compensate [the] the full meal period premium for work performed during meal

  20 periods.” Id., ¶ 65; see also id., ¶ 66.

  21            43.   Based on the foregoing, Plaintiff seeks to recover on behalf of herself and
  22 the putative class “one additional hour of pay at the employee’s regular rate of

  23 compensation for each work day that the meal or rest period was not provided.” Id., ¶

  24 68; see also id. at p. 24 (Prayer for Relief, ¶¶ 10-16).

  25            44.   Given the Complaint’s allegations, Defendants could reasonably assume
  26 that each of the CSI PCMs will claim to have not been provided nor paid for at least

  27 one non-compliant meal break each day they worked during the four-year period prior

  28

       143254306.2                                 19
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 21 of 34 Page ID #:21




   1 to service of the Complaint.17 Indeed, Defendants’ data establishes that CSI PCMs

   2 were entitled to at least one meal period each workday during the relevant period

   3 because they averaged 8.13 hours per workday. However, for purposes of calculating

   4 the amount in controversy for this removal, Defendants conservatively assume that

   5 Plaintiff and the CSI PCMs only will claim to have experienced just one meal break

   6 violation only once every workweek (i.e., a 20% violation rate) during the four-year

   7 period preceding service of the Complaint.

   8            45.     Therefore, based on CSI’s above-summarized data, which shows that the
   9 PCMs worked at least 95,610 aggregate days during the four-year period prior to

  10 service of the Complaint (i.e., February 24, 2017 through March 29, 2021), and were

  11 paid an average effective hourly rate of $33.28 during that time period, Defendants

  12 conservatively calculate the amount in controversy on Plaintiff’s claim for unpaid meal

  13 break compensation as follows:

  14                 Average          Total            Workdays
                     Hourly         Number of         Meal Period         Amount In
  15                  Rate          Workdays         Violation Rate       Controversy
  16                 $33.28     x     95,610     x        20%         =    $636,380.16
  17

  18            46.     Accordingly, the amount in controversy on Plaintiff’s meal break
  19 violation claim is at least $636,380.16, without calculating or including any sums for

  20

  21

  22            17
                 See, e.g., Archuleta v. Avcorp Composite Fabrication, Inc., 2018 WL
  23   6382049, at *4-5 (C.D. Cal. Dec. 6, 2018) (Gutierrez, J.) (finding use of 100% violation
       rate permissible where the complaint alleged a “consistent policy of violations” and
  24   “does not allege a more precise calculation” to dispute the violation rate proffered by
       the employer) (int. quot. omitted); Muniz v. Pilot Travel Ctrs. LLC, 2007 WL 1302504,
  25   at *5 (E.D. Cal. Apr. 30, 2007) (100% rate appropriate where plaintiff “allege[d] no
       facts specific to the circumstances of her or [PCMs’] allegedly missed meal and/or rest
  26   periods” and alleged only that “they were ‘not always provided lawful meal periods’”);
       Mejia v. DHL Express (USA), Inc., 2015 WL 2452755, *4 (C.D. Cal. May 21, 2015)
  27   (King, J.) (holding that a 100% violation rate was properly utilized where the plaintiff’s
       complaint did “not contain any allegations that suggest a 100% violate rate is an
  28   impermissible assumption”).

       143254306.2                                   20
                               DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 22 of 34 Page ID #:22




   1 non-exempt employees working for Defendant CGL.18

   2                      Third Cause of Action: Failure to Provide Rest Periods
   3            47.     In support of her Third Cause of Action for failure to provide rest periods
   4 or to pay rest period premiums,19 Plaintiff alleges that “Defendants engaged in a pattern

   5 and practice of wage abuse against their hourly-paid or non-exempt employees within

   6 the State of California. This pattern and practice [allegedly] involved, inter alia, failing

   7 to pay them ... for missed meal periods and rest breaks in violation of California law.”

   8 Complaint, ¶ 27. She further alleges that “Defendants knew or should have known that

   9 [she] and other [PCMs] were entitled to receive all rest periods or payment for one

  10 additional hour of pay at [her] and the other [PCMs’] regular rate of pay when a rest

  11 period was missed, and they did not receive all rest periods or payment of one

  12 additional hour of pay and [their] regular rate of pay when a meal period was missed.”

  13 Id., ¶ 31 (emph. added). She also alleges that, “[d]uring the relevant time period,

  14 Defendants failed to provide all uninterrupted meal and rest periods to Plaintiff and

  15 [other PCMs].” Id., ¶ 40.

  16            48.     In further support of her Third Cause of Action, Plaintiff alleges that,
  17 “[d]uring the relevant period, Defendants required [her] and [other PCMs] to work four

  18 (4) or more hours without authorizing or permitting a ten (10) minute rest period per

  19 each four (4) hour period worked.” Id., ¶ 73. She further alleges that, “[d]uring the

  20 relevant period, Defendants willfully required Plaintiff and [other PCMs] to work

  21 during rest periods and failed to pay Plaintiff and o[other PCMs] the full rest period

  22

  23
                18
                     If challenged, Defendants expressly reserve and do not waive their right to
  24 supplement and/or amend their removal submissions to rely on other, higher,
       reasonable assumptions and/or estimates in calculating the amount in controversy,
  25 including employee data for CGL.
                19
  26           Plaintiff’s Tenth Cause of Action seeks restitution of the same allegedly
     unpaid overtime and minimum wages under the UCL, which is subject to a four-year
  27 limitations period. Complaint, ¶¶ 116, 119 (“Plaintiff and the other class members are
     entitled to restitution of the wages withheld and retained by Defendants during a period
  28 that commences four years preceding the filing of this Complaint, an award of
     attorneys’ fees ... and an award of costs.”).
       143254306.2                                   21
                             DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 23 of 34 Page ID #:23




   1 premium for work performed during rest periods.” Id., ¶ 74; see also id., ¶ 76. Based

   2 on the foregoing, Plaintiff seeks to recover on behalf of herself and the putative class

   3 “one additional hour of pay at the employee’s regular rate of compensation for each

   4 work day that the rest period was not provided.” Id., ¶ 68; see also id. at p. 24 (Prayer

   5 for Relief, ¶¶ 17-22).

   6            49.     Based on the Complaint’s allegations, Defendants can reasonably assume
   7 that each of the CSI PCMs alone will claim to have not been provided and paid for at

   8 least one compliant rest break for each day they worked during the four-year period

   9 prior to service of the Complaint.20 Indeed, Defendants’ data establishes that CSI

  10 PCMs were entitled to at least two rest periods each workday during the relevant period

  11 because they averaged 8.13 hours per workday. However, for purposes of calculating

  12 the amount in controversy for removal – as it did with Plaintiff’s meal break violation

  13 – Defendants conservatively assume that Plaintiff and the PCMs will claim to have

  14 experienced a rest break violation only once every workweek (i.e., a 20% violation

  15 rate) during the four-year period preceding service of the Complaint.21

  16            50.     Therefore, based on Defendants’ above-summarized data, which shows
  17 that the CSI PCMs worked at least 95,610 days during the four-year period prior to

  18 service of the Complaint (i.e., February 24, 2017 through March 29, 2021), and were

  19 paid an average effective hourly rate of $33.28 during that time period, Defendants

  20 conservatively calculate the amount in controversy on Plaintiff’s claim for unpaid rest

  21

  22
                20
                     See supra n.17; see also, e.g., Coleman v. Estes Express Lines, Inc., 730
  23 F.Supp.2d 1141, 1149-50 (C.D. Cal. 2010) (Collins, J.), affirmed 631 F.3d 1010 (9th
       Cir. 2011) (holding that the defendant properly utilized a 100% violation rate for
  24 missed meal and rest breaks when calculating the amount in controversy for CAFA
       removal purposes where the plaintiff had alleged that the class members “consistently”
  25 worked without meal breaks); Mejia, 2015 WL 2452755, at *4 (holding that a 100%
       violation rate was properly utilized where the plaintiff’s complaint did “not contain any
  26 allegations that suggest a 100% violation rate is an impermissible assumption”).
                21
  27          If challenged, Defendants expressly reserve and do not waive their right to
     supplement and/or amend their removal submissions to rely on other, higher,
  28 reasonable assumptions and/or estimates in calculating the amount in controversy,
     including employee data for CGL.
       143254306.2                                 22
                             DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 24 of 34 Page ID #:24




   1 break compensation as follows:

   2                 Average          Total            Workdays
                     Hourly         Number of         Rest Period         Amount In
   3                  Rate          Workday          Violation Rate       Controversy
   4                 $33.28     x     95,610     x        40%         =     $636,380.16
   5

   6            51.     Accordingly, the amount in controversy on Plaintiff’s rest period violation
   7 claim is at least $636,380.16, without calculating or including any sums for non-

   8 exempt employees working for Defendant CGL.

   9                           Fifth Cause of Action: Waiting Time Penalties
  10            52.     In support of her Fifth Cause of Action for waiting time penalties under
  11 Labor Code § 203 (“Section 203”), Plaintiff alleges that she and other PCMs “were

  12 entitled to receive all wages owed to them upon discharge or resignation, including

  13 overtime and minimum wages and meal and rest period premiums, and they did not, in

  14 fact, receive all such wages owed to them at the time of their discharge or resignation.”

  15 Complaint, ¶ 33; see also id., ¶ 87 (alleging that Defendants failed to pay PCMs “who

  16 are no longer employed with Defendants’ [sic] their wages”).22 She further alleges that

  17 “Defendants engaged in a pattern and practice of wage abuse against their hourly-paid

  18 or non-exempt employees within the State of California. This pattern and practice

  19 [allegedly] involved, inter alia, failing to pay them ... for missed meal periods and rest

  20 breaks in violation of California law.” Id., ¶ 27; see also id., ¶ 42 (“During the relevant

  21 time period, Defendants failed to pay Plaintiff and the other class members all wages

  22 owed to them upon discharge or resignation.”).

  23            53.     Based on the foregoing, Plaintiff contends that she and other PCMs “are
  24 entitled to recovery from Defendants the statutory penalty wages for each day they

  25 were not paid, up to a thirty (30) day maximum pursuant to California Labor Code

  26
                22
  27          Plaintiff also alleges that she and other PCMs “did not receive payment of all
     wages, including overtime and minimum wages and meal and rest period premiums,
  28 within any time permissible under California Labor Code section 204.” Complaint, ¶
     34; see also id., ¶ 43.
       143254306.2                                   23
                               DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 25 of 34 Page ID #:25




   1 section 203.” Id., ¶ 89 (emph. added); see also id. at p. 25 (Prayer for Relief, ¶ 32)

   2 (praying “[f]or statutory wage penalties ... for Plaintiff and the other class members

   3 who have left Defendants’ employ”). Moreover, Plaintiff’s Tenth Cause of Action

   4 seeks restitution of the same allegedly unpaid wages and waiting time penalties under

   5 the UCL, which is subject to a four-year limitations period. Id., ¶¶ 116, 119 (“Plaintiff

   6 and the other class members are entitled to restitution of the wages withheld and

   7 retained by Defendants during a period that commences four years preceding the filing

   8 of this Complaint, an award of attorneys’ fees ... and an award of costs.”). Accordingly,

   9 a four-year limitations period is properly applied to this claim.

  10            54.   Notwithstanding that four-year limitations period is properly applied
  11 given the Complaint’s allegations, there are 199 CSI PCMs alone whose employment

  12 terminated during the three-year period preceding service of the Complaint (i.e.,

  13 February 24, 2018 through March 29, 2021). Moreover, the PCMs’ average effective

  14 hourly rate during that same three-year time period was $34.02 per hour.        Further,
  15 Plaintiff alleges that she and other PCMs “were required to work more than eight (8)

  16 hours per day and/or forty (40) hours per week without overtime compensation for all

  17 overtime hours worked.” Id. (emph. added); id., ¶ 54 (“During the relevant period,

  18 Plaintiff and the other class members worked in excess of eight (8) hours in a day,

  19 and/or in excess of forty (40) hours in a week.”); see, e.g., Calderon v. BKB Constr.,

  20 LP, 2017 WL 2618094, at *6 (N.D. Cal. June 16, 2017) (“Plaintiff’s complaint alleges

  21 that he worked in excess of 8 hours a day, so it is reasonable for Defendant to assume

  22 that Plaintiff worked a minimum of 8 hours per day.”).

  23            55.   Consequently, Defendants conservatively calculate that the amount in
  24 controversy on Plaintiff’s claim for waiting time penalties is at least $1,624,795.20

  25 [199 PCMs x $8,164.80 ($34.02 average hourly rate x 8 hours per day x 30 days)].23

  26

  27            23
             Based on the Complaint’s allegations, Defendants’ 30-day assumption is
  28 reasonable. See, e.g., Marentes v. Key Energy Servs. Cal, Inc., 2015 WL 756516, at

       143254306.2                              24
                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 26 of 34 Page ID #:26




   1 However, this calculation is underestimated, as it does not account for Plaintiff’s

   2 claimed four-year limitations period or include any amounts in controversy on

   3 Plaintiff’s claim for waiting time penalties for any former non-exempt employee who

   4 worked for Defendant CGL within the three- or four-year limitations periods. 24

   5    Seventh Cause of Action: Failure to Provide Accurate Itemized Wage Statements
   6            56.   In support of Plaintiff’s Seventh Cause of Action for violation of Cal. Lab.
   7 Code § 226(a), Plaintiff alleges that, “[d]uring the relevant time period, Defendants

   8 failed to provide complete and accurate wage statements to Plaintiff and [other

   9 PCMs].” Complaint, ¶ 44. She alleges that she and other PCMs “did not receive

  10 complete and accurate wage statements from Defendants” because the wages

  11 statement, allegedly, did not “include the total number of hours worked by Plaintiff

  12 and other class members.” Id., ¶ 35; see also id., ¶ 98. Thus, Plaintiff alleges that wage

  13 statements issued to her and other PCMs failed to reflect that amounts that she contends

  14 should have been paid to her and other PCMs for overtime and minimum wages and

  15 missed meal and rest periods. As noted above, she contends that such underpayments

  16

  17
       *9 (E.D. Cal. Feb. 23, 2015) (where “wages are alleged to have not been paid, the full
  18 thirty days may be used for each of the [PCMs]”); Altamirano, 2013 WL 2950600, at
       *12 (“[A]s there is nothing in the complaint [] to suggest that Defendants paid
  19 employees these unpaid wages at some point … awarding penalties for the entire 30
       day period is reasonable.”); see also, e.g., Franke v. Anderson Merchandisers LLC,
  20 2017 WL 3224656, at *4 (C.D. Cal. July 28, 2017) (Fischer, J.) (assumed 30-day period
       was reasonable); Calderon, 2017 WL 2618094, at *6 (reasonable to assume 30-day
  21 period when five months elapsed between last day of work and filing complaint).
       Indeed, given the Complaint’s allegations, it is reasonable to assume that each PCM
  22 incurred unpaid/underpaid time in some amount at least once during the relevant time
       period, and a single incident of underpayment to each PCM is sufficient to trigger
  23 Section 203 penalties for the entire 30-day period for all PCMs. See, e.g., Altamirano,
       2013 WL 2950600, at *12 (based on the allegations, reasonable to assume all
  24 terminated employees suffered one incident of underpayment and awarding penalties
       for 30-day period); Nunes v. Home Depot U.S.A., Inc., 2019 WL 4316903, at *3 (E.D.
  25 Cal. Sept. 12, 2019) (accepting assumption that terminated PCMs suffered at least one
       violation based on allegations of “uniform policy and practice,” which resulted in
  26 amounts not paid at termination).
                24
  27         If challenged, Defendants expressly reserve and do not waive their right to
     supplement and/or amend the removal submissions to rely on other, higher, reasonable
  28 assumptions and/or estimates in calculating the amount in controversy, including
     employee data for CGL.
       143254306.2                                 25
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 27 of 34 Page ID #:27




   1 were the result of “a pattern and practice of wage abuse.” Id., ¶ 27

   2            57.   Based on the foregoing, Plaintiff contends that she and other PCMs are
   3 “entitled to recover from Defendants the greater of their actual damages caused by

   4 Defendants’ failure to comply with California Labor Code section 226(a), or an

   5 aggregate penalty not exceeding four thousand dollars per employee.” Id., ¶ 102; see

   6 id. at p. 26 (Prayer for Relief, ¶¶ 39-42) (seeking “statutory penalties”).

   7            58.   Under Cal. Lab. Code § 226(e), an employee suffering injury as a result
   8 of a knowing and intentional failure by an employer to provide accurate itemized wage

   9 statements in violation of Cal. Lab. Code § 226(a) is entitled to recover the greater of

  10 all actual damages or fifty dollars ($50) for the initial pay period in which a violation

  11 occurs and one hundred dollars ($100) per employee for each violation in a subsequent

  12 pay period, not to exceed an aggregate penalty of four thousand dollars ($4,000) per

  13 employee. This type of claimed violation is normally subject to a one-year statute of

  14 limitations.

  15            59.   Based on Plaintiff’s allegations, Defendants could reasonably utilize the
  16 $4,000 statutory damages limit to calculate the amount in controversy on this claim for

  17 PCMs employed by CSI during the one-year limitations period (112 CSI PCMs x

  18 $4,000 = $448,000).25 Moreover, Plaintiff’s Tenth Cause of Action seeks restitution

  19 of the same statutory penalties under the UCL, which is subject to a four-year

  20 limitations period—application of which would further increase the amount in

  21 controversy on this claim (238 CSI PCMs x $4,000 = $952,000). Id., ¶¶ 116, 119

  22 (“Plaintiff and the other class members are entitled to restitution of the wages withheld

  23 and retained by Defendants during a period that commences four years preceding the

  24 filing of this Complaint, an award of attorneys’ fees ... and an award of costs.”).

  25

  26
                25
  27         See also Korn v. Polo Ralph Lauren Corp., 536 F.Supp.2d 1199, 1205 (E.D.
     Cal. 2008) (“Where a statutory maximum is specified, courts may consider the
  28 maximum statutory penalty available in determining whether the jurisdictional
     amount in controversy requirement is met.” (emph. added)).
       143254306.2                                26
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 28 of 34 Page ID #:28




   1            60.   Nevertheless, utilizing a more conservative approach, Defendants
   2 conservatively calculate the amount in controversy on Plaintiff’s inaccurate wage

   3 statement claim during the one-year period prior to service of the Complaint (i.e.,

   4 February 24, 2020 through March 29, 2021) for the 112 PCMs employed by CSI only

   5 to be $169,800 (or approx. $1,516.07 per PCM), calculated as follows: $5,600 [112

   6 PCMs x $50 initial violation] + $164,200 [1,642 subsequent wage statements (1,754-

   7 112) x $100 subsequent violation].

   8                      Eighth Cause of Action: Recordkeeping Penalties
   9            61.   In support of her Eighth Cause of Action for violation of Cal. Lab. Code
  10 § 1174(d) (“Section 1174”), Plaintiff alleges that Defendants “did not keep complete

  11 and accurate payroll records.” Complaint, ¶ 36; see also id., ¶ 45 (“During the relevant

  12 time period, Defendants failed to keep complete or accurate payroll records for Plaintiff

  13 and other class members.”). She further alleges that Defendants violated Section 1174

  14 “willfully,” and that she and other PCMs “have been injured” because “they were

  15 denied their legal right and protected interest, in having available, accurate and

  16 complete payroll records pursuant to [Section 1174].” Id., ¶ 107. Based thereon,

  17 Plaintiff seeks “statutory penalties pursuant to California Labor Code section 1174.5.”

  18 Id. at p. 26 (Prayer for Relief, ¶ 46).

  19            62.   Under Cal. Lab. Code § 1174.5, “[a]ny person employing labor who
  20 willfully fails to maintain the records required by subdivision (c) of Section 1174 or

  21 accurate and complete records required by subdivision (d) of Section 1174, or to allow

  22 any member of the commission or employees of the division to inspect records

  23 pursuant to subdivision (b) of Section 1174, shall be subject to a civil penalty of five

  24 hundred dollars ($500).” Thus, Defendants conservatively calculate the amount in

  25 controversy on Plaintiff’s recordkeeping penalties, using the ostensibly applicable one-

  26 year period prior to service of this action (i.e., February 24, 2020 through March 29,

  27 2021), for CSI PCMs only, to be $56,000 ($500 x 112 PCMs).

  28

       143254306.2                                27
                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 29 of 34 Page ID #:29




   1                                   Statutory Attorneys’ Fees
   2            63.   Plaintiff also seeks statutory attorneys’ fees in connection with the causes
   3 of action alleged in the Complaint. See, e.g., Complaint, ¶¶ 57, 81, 119 & at pp. 23-28

   4 (Prayer for Relief, ¶¶ 8, 15, 27, 51, 56).

   5            64.   In the Ninth Circuit, when attorneys’ fees are authorized by statute, they
   6 are appropriately part of the calculation of the “amount in controversy” for purposes

   7 of removal. Fritsch v. Swift Transp. Co. of Arizona, LLC, 899 F.3d 785, 794 (9th Cir.

   8 2018); Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005); see Galt G/S v.

   9 JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998) (“[W]here an underlying

  10 statute authorizes an award of attorneys’ fees, either with mandatory or discretionary

  11 language, such fees may be included in the amount in controversy.”). Moreover, “a

  12 court must include future attorneys’ fees recoverable by statute or contract when

  13 assessing whether the amount-in-controversy requirement is met.” Fritsch, 899 F.3d

  14 at 794 (emph. added); see also Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414-

  15 15 (9th Cir. 2018) (“[T]he amount in controversy is determined by the complaint

  16 operative at the time of removal and encompasses all relief a court may grant on that

  17 complaint if the plaintiff is victorious.” (emph. added)).

  18            65.   Where, as here, a common fund recovery is sought, the Ninth Circuit uses
  19 a benchmark rate of 25% of the potential award as an estimate for attorneys’ fees. See,

  20 e.g., Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998) (“This circuit has

  21 established 25% … as a benchmark award for attorney fees.”); Glass v. UBS Fin.

  22 Servs., 331 F. App’x 452, 457 (9th Cir. 2009) (finding 25% of total award, rather than

  23 25% of amount actually collected by the class, “was proper, and in line with Ninth

  24 circuit precedent”).26 Accordingly, utilizing Defendants’ calculations of the amount in

  25

  26            26
             See also, e.g., Hamilton v. Wal-Mart Stores Inc., 2017 WL 4355903, at *5-6
  27 (C.D. Cal.  Sept. 29, 2017) (Birotte, J.) (CAFA wage and hour case allowing an
     estimated fee award of twenty-five percent of the plaintiff’s damages in calculating the
  28 amount in controversy); Gutierrez v. Stericycle, Inc., 2017 WL 599412, at *17 (C.D.

       143254306.2                                 28
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 30 of 34 Page ID #:30




   1 controversy on Plaintiff’s First, Second, Third, Fourth, Fifth, Seventh, and Eighth

   2 Causes of Action and the 25% benchmark for attorneys’ fees used in the Ninth Circuit,

   3 Defendants conservatively calculate the amount in controversy on Plaintiff’s claim for

   4 statutory attorneys’ fees would be no less than $1,069,676.69 [($1,155,351.24 +

   5 $636,380.16 + $636,380.16 + $1,624,795.20 + $169,800.00 + $56,000.00) =

   6 $4,278,706.76) x 25%].27

   7            66.   However, this calculation is underestimated, as it does not account for
   8 any amount in controversy calculations, or any potential statutory attorneys’ fees, for

   9 the amounts in controversy on the claims of non-exempt employees who worked for

  10 CGL that have not been included in Defendants’ amount in controversy calculations

  11 for purposes of this Notice of Removal.28

  12                                Summary of Amount in Controversy
  13            67.   Based on the foregoing, and without including any amount in controversy
  14

  15
       Cal. Feb. 14, 2017) (Kronstadt, J.) (CAFA wage and hour case noting that “it is
  16 appropriate to include in the calculation of the amount in controversy a potential fee
       award of 25% of the value of certain of the substantive claims.”); Fong v. Regis Corp.,
  17 2014 WL 26996, at *7 (N.D. Cal. Jan. 2, 2014) (“Courts in this circuit have held that,
       for purposes of calculating the amount in controversy in a wage-and-hour class action,
  18 removing defendants can reasonably assume that plaintiffs are entitled to attorney fees
       valued at approximately twenty-five percent of the projected damages.”).
  19          27
                 Indeed, this 25% benchmark is arguably understated, as Plaintiff’s counsel in
  20
       this action have sought more than 25% of the gross settlement amount in attorneys’
       fees in similar wage and hour cases, which settled for sums that are significantly
  21
       smaller than the amount in controversy on Plaintiff’s claims in this action. See, e.g.,
       Campbell v. Best Buy Stores, L.P., 2015 WL 12744628, at *8 (C.D. Cal. June 23, 2015)
  22
       (Kronstadt, J.) (seeking preliminary approval of an attorneys’ fees award totaling one-
       third or 33% of the total settlement amount); Barbosa v. Cargill Meat Solutions Corp.,
  23
       297 F.R.D. 431, 448-54 (E.D. Cal. 2013) (granting plaintiff’s counsel’s request for
       attorneys’ fees in the amount of one-third of the gross settlement fund).
  24          28
                 For instance, even if Defendants were to include data for CGL PCMs on only
       the amount in controversy on Plaintiff’s the inaccurate wage statement claim, it would
  25   add $906,000 to the amount in controversy on that claim alone, calculated as follows:
       (422 PCMs x $50 initial violation = $21,100) + (8,855 Subsequent Wage Statements
  26   [9,277-422] x $100 subsequent violation = $885,500) = $906,600. Moreover, a 25%
       attorneys’ fees benchmark would add $226,650 in attorneys’ fees on just this one claim
  27   as to the CGL PCMs, for a total of $1,133,250 additional amount in controversy.
       Accordingly, Defendants have plainly demonstrated that the amount in controversy as
  28   to the claims Plaintiff collectively pleads against CSI and CGL exceeds $5,000,000 by
       any standard – and certainly under a preponderance of the evidence standard.
       143254306.2                               29
                          DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 31 of 34 Page ID #:31




   1 calculations on Plaintiff’s Sixth or Ninth Causes of Action, and considering only those

   2 PCMs who worked for CSI (and not any amounts in controversy for CGL PCMs), the

   3 amount in controversy on Plaintiff’s First, Second, Third, Fourth, Fifth, Seventh, and

   4 Eighth Causes of Action is not less than $5,348,383.45, which exceeds the $5,000,000

   5 CAFA threshold:

   6     Cause of Action / Claim                                    Amount in Controversy
   7     Failure to Pay Overtime and Minimum Wage                              $1,155,351.24
   8     (First and Fourth Causes of Action)
   9     Failure to Provide Meal Periods                                         $636,380.16
         (Second Cause of Action)
  10
         Failure to Provide Rest Periods                                         $636,380.16
  11     (Third Cause of Action)
  12     Waiting Time Penalties Pursuant to Labor Code § 203                   $1,624,795.20
         (Fifth Cause of Action)
  13
         Violations of Labor Code § 226(a)                                       $169,800.00
  14
         (Seventh Cause of Action)
  15     Violations of Cal. Lab. Code § 1174                                      $56,000.00
  16     (Eighth Cause of Action)
  17     Statutory Attorneys’ Fees and Costs                                   $1,069,676.69

  18                 TOTAL AMOUNT IN CONTROVERSY:                              $5,348,383.45
  19

  20            68.    Defendants expressly reserve and do not waive their right to amend this
  21 Notice of Removal and/or offer evidence supporting the Court’s jurisdiction over this

  22 action under CAFA or otherwise, including without limitation as to additional and/or

  23 different amounts in controversy (including by proffering amounts in controversy as to

  24 non-exempt employees of CGL), and as to traditional diversity and/or federal question

  25 jurisdiction. Additionally, Defendants assume that the proposed class is as defined by

  26 Plaintiff in the Complaint for purposes of this Notice of Removal only, but expressly

  27 reserve and do not waive their position that the proposed class definition is improper

  28 and/or cannot be certified.

       143254306.2                                30
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 32 of 34 Page ID #:32




   1                          IV.    NO CAFA EXCEPTIONS APPLY
   2            69.   CAFA contains a number of exceptions to its grant of original jurisdiction.
   3 28 U.S.C. §§ 1332(d)(3)-(5). However, none of these exceptions are applicable here.

   4            70.   The first is a discretionary exception based on the number of putative class
   5 members found in the state where the action was filed. See 28 U.S.C. § 1332(d)(3).

   6 However, the exception only applies where the “primary defendants are citizens of the

   7 State in which the action was originally filed.” See id. Here, the action was originally

   8 filed in the Superior Court of the State of California and, as noted above, none of

   9 Defendants are a citizen of California. Thus, this exception does not apply.

  10            71.   Similarly, 28 U.S.C. § 1332(d)(4) contains two further exceptions to
  11 CAFA’s grant of original jurisdiction based on the number of putative class members

  12 in the state in which the action was filed. However, these exceptions also apply only

  13 where all primary defendants, or at least one defendant, is a “citizen of the State in

  14 which the action was originally filed.”            See 28 U.S.C. §§ 1332(d)(4)(A)(i)(II),
  15 1332(d)(4)(B). Given that this action was originally filed in California, and none of

  16 Defendants are citizens of California, these exceptions also do not apply.

  17            72.   Finally, 28 U.S.C. § 1332(d)(5) presents two additional exceptions
  18 applicable to actions where defendants are government entities, or in which the putative

  19 class contains less than 100 members in the aggregate.                  See 28 U.S.C. §§
  20 1332(d)(5)(A)-(B). Given that Defendants are not governmental entities, and CSI’s

  21 above-described data alone establishes that the putative class in fact far exceeds 100

  22 members, these exceptions also do not apply.

  23                            V.     TIMELINESS OF REMOVAL
  24            73.   As set forth above, the Summons and Complaint were served on each
  25 Defendant’s actual or purported respective agent for service of process on March 29,

  26 2021. Consequently, this Notice of Removal is timely in that it has been filed within

  27 thirty (30) days of the date of service of the Summons and Complaint on Defendants

  28 consistent with 28 U.S.C. §§ 1332(d), 1441(b), and 1446.

       143254306.2                                 31
                           DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 33 of 34 Page ID #:33




   1                  VI.    NOTICE TO PLAINTIFF AND STATE COURT
   2            74.   Contemporaneously with the filing of this Notice of Removal in the
   3 United States District Court for the Central District of California, written notice of such

   4 filing will be served on Plaintiff’s counsel of record:

   5

   6                             Edwin Aiwazian
   7
                                 Lawyers for Justice, PC
                                 410 West Arden Avenue, Suite 203
   8                             Glendale, California 91203
   9
                                 Telephone: (818) 265-1020
                                 Facsimile: (818) 265-1021
  10

  11 In addition, a copy of this Notice of Removal will be filed with the Clerk of the Court

  12 for the Superior Court of the State of California in and for the County of Los Angeles.

  13            WHEREFORE, having provided notice as is required by law, the above-entitled
  14 action should be removed to this United States District Court for the Central District

  15 of California from the Superior Court of the State of California in and for the County

  16 of Los Angeles to this Court.

  17

  18 DATED: April 28, 2021                  MCGUIREWOODS LLP
  19

  20                                        By:        /s/ Sabrina A. Beldner
  21                                                   Sabrina A. Beldner
                                                       Sylvia J. Kim
  22                                                   Amy E. Beverlin

  23                                              Attorneys for Defendants
                                                  CENTERRA GROUP, LLC, CENTERRA
  24                                              SERVICES INTERNATIONAL, INC.,
                                                  WACKENHUT SERVICES, INC. and G4S
  25                                              GOVERNMENT SOLUTIONS, INC.

  26

  27

  28

       143254306.2                                32
                            DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:21-cv-03596-JWH-PLA Document 1 Filed 04/28/21 Page 34 of 34 Page ID #:34




   1                                          PROOF OF SERVICE
   2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

   3        I am employed in the County of Los Angeles, State of California. I am over the age of
     eighteen years and not a party to the within action; my business address is 1800 Century Park East,
   4 7th Floor, Los Angeles, CA 90067.

   5         On April 28, 2021, I served the following document(s) described as DEFENDANTS’
     NOTICE OF REMOVAL OF CIVIL ACTION on the interested parties in this action by placing
   6 true copies thereof enclosed in sealed envelopes addressed as follows:

   7    Edwin Aiwazian                                     Attorney for Plaintiff
        LAWYERS for JUSTICE, PC                            Jeannie Monarrez
   8    410 West Arden Avenue, Suite 203
        Glendale, CA 91203
   9
               BY MAIL: I am “readily familiar” with the firm’s practice of collection and processing
  10            correspondence for mailing with the United States Postal Service. Under that practice, it
                would be deposited with the United States Postal Service that same day in the ordinary
  11            course of business. Such envelope(s) were placed for collection and mailing with postage
                thereon fully prepaid at Los Angeles, California, on that same day following ordinary
  12            business practices. (C.C.P. § 1013 (a) and 1013a(3))
  13           BY FACSIMILE: I caused said document(s) to be transmitted by facsimile pursuant to
                Rule 2008 of the California Rules of Court. The telephone number of the sending facsimile
  14            machine was (310) 315-8210. The name(s) and facsimile machine telephone number(s) of
                the person(s) served are set forth in the service list. The document was transmitted by
  15            facsimile transmission, and the sending facsimile machine properly issued a transmission
                report confirming that the transmission was complete and without error.
  16
               BY OVERNIGHT DELIVERY: I deposited such document(s) in a box or other facility
  17            regularly maintained by the overnight service carrier, or delivered such document(s) to a
                courier or driver authorized by the overnight service carrier to receive documents, in an
  18            envelope or package designated by the overnight service carrier with delivery fees paid or
                provided for, addressed to the person(s) served hereunder. (C.C.P. § 1013(d)(e))
  19
               BY PERSONAL SERVICE: I personally delivered such envelope(s) to the addressee(s).
  20            (C.C.P. § 1011)
  21            I declare under penalty of perjury under the laws of the State of California that the foregoing
       is true and correct.
  22
                Executed on April 28, 2021 at Los Angeles, California.
  23

  24
                                                                         Matthew Whitney
  25

  26

  27

  28

       143254306.2                                       33
                             DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
